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Re:Snyder et al v. Tamko Building Products, Inc.
USDC Kansas Case Number: 19-2630-JWL-KGG
USDC California Eastern District: Case Number: 15-1892-TLN-KJN

Dear Counsel of Record:

Please be advised that the above named action has been transferred to the U.S. District Court for the
District of Kansas at Kansas City, Kansas. We have assigned Civil Action Number
19-2630-JWL-KGG, assigned to the Honorable John W. Lungstrum, District Judge, and to the
Honorable Kenneth G. Gale, Magistrate Judge, for pretrial proceedings.

Our local rules and information regarding admission pro hac vice can be found at
www.ksd.uscourts.gov or by contacting Attorney Registration at (913) 735-2229.


Sincerly,
TIMOTHY M. O'BRIEN - CLERK

By: s/Yolanda Marzett
Deputy Clerk
